
		
				RE REVOCATION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS2023 OK 46Decided: 04/24/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2023 OK 46, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION.

RE: Revocation of Credentials of Registered Courtroom Interpreters
ORDER
This Court previously suspended the credentials of several Registered Courtroom Interpreters for failure to comply with the continuing education requirements for calendar year 2022 and/or with the annual credential renewal requirements for 2023. See 2023 OK 16 (SCAD 2023-18, dated February 21, 2023).
Under the applicable rules, a suspended certificate which has not been reinstated on or before April 15 shall be administratively revoked on that date. 20 O.S., Chapter 23, App. II, Rules 18(f) and 20(g). The Oklahoma Board of Examiners of Certified Courtroom Interpreters has advised that the interpreters listed in attached Exhibit A have not reinstated their credential as required by the rules, and the Board has recommended to this Court the revocation of the credential of each of these interpreters.
This Court hereby approves the Board's recommendation of revocation of each of the Registered Courtroom Interpreters named below, and pursuant to the applicable rules such revocation shall be effective April 24, 2023.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 24th day of April, 2023.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.
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Exhibit A


Monique Joseph


Manuel Munoz Maldonado


Annette Salinas








